                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                      AT WINCHESTER

 UNITED STATES OF AMERICA                               )
                                                        )       Case No. 4:13-cr-11
                                                        )
 v.                                                     )
                                                        )       MATTICE / LEE
 TONY T. BROWN                                          )

                                              ORDER

        Magistrate Judge Susan K. Lee filed a report and recommendation recommending the Court:

 (1) grant Defendant’s motion to withdraw his not guilty plea to Count One of the thirty-four count

 Indictment (2) accept Defendant’s plea of guilty to the lesser included offense of the charge in Count

 One, that is of conspiracy to distribute and possess with intent to distribute five hundred (500) grams

 or more of a mixture and substance containing a detectable amount of cocaine and twenty-eight (28)

 grams or more of a mixture and substance containing cocaine base (“crack”), both Schedule II

 controlled substances, in violation of 21 U.S.C. §§ 846, 841(a)(1) & 841(b)(1)(B); (3) adjudicate

 Defendant guilty of the lesser included offense of the charge in Count One, that is of conspiracy to

 distribute and possess with intent to distribute five hundred (500) grams or more of a mixture and

 substance containing a detectable amount of cocaine and twenty-eight (28) grams or more of a

 mixture and substance containing cocaine base (“crack”), both Schedule II controlled substances,

 in violation of 21 U.S.C. §§ 846, 841(a)(1) & 841(b)(1)(B); (4) defer a decision on whether to accept

 the plea agreement until sentencing; and (5) find Defendant shall remain in custody until sentencing

 in this matter [Doc. 344]. Neither party filed a timely objection to the report and recommendation.

 After reviewing the record, the Court agrees with the magistrate judge’s report and recommendation.

 Accordingly, the Court ACCEPTS and ADOPTS the magistrate judge’s report and recommendation




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 [Doc. 344] pursuant to 28 U.S.C. § 636(b)(1) and ORDERS as follows:

       (1)    Defendant’s motion to withdraw his not guilty plea to Count One of the Indictment

              is GRANTED;

       (2)    Defendant’s plea of guilty to the lesser included offense of the charge in Count One,

              that is of conspiracy to distribute and possess with intent to distribute five hundred

              (500) grams or more of a mixture and substance containing a detectable amount of

              cocaine and twenty-eight (28) grams or more of a mixture and substance containing

              cocaine base (“crack”), both Schedule II controlled substances, in violation of 21

              U.S.C. §§ 846, 841(a)(1) & 841(b)(1)(B) is ACCEPTED;

       (3)    Defendant is hereby ADJUDGED guilty of the lesser included offense of the charge

              in Count One, that is of conspiracy to distribute and possess with intent to distribute

              five hundred (500) grams or more of a mixture and substance containing a detectable

              amount of cocaine and twenty-eight (28) grams or more of a mixture and substance

              containing cocaine base (“crack”), both Schedule II controlled substances, in

              violation of 21 U.S.C. §§ 846, 841(a)(1) & 841(b)(1)(B);

       (4)    A decision on whether to accept the plea agreement is DEFERRED until sentencing;

              and

       (5)    Defendant SHALL REMAIN in custody until sentencing in this matter which is

              scheduled to take place on Monday, April 14, 2014 at 9:00 a.m. [EASTERN]

              before the Honorable Harry S. Mattice, Jr.




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       SO ORDERED.

       ENTER:


                                                 /s/Harry S. Mattice, Jr.
                                                 HARRY S. MATTICE, JR.
                                            UNITED STATES DISTRICT JUDGE




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